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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                                           10/21/2020
 Monet Punter-Spencer,

                                 Plaintiff,
                                                            1:18-cv-01959 (MKV) (SDA)
                     -against-
                                                            ORDER FOR
 Charles E. Irving et al,                                   TELEPHONE CONFERENCE

                                 Defendants.


STEWART D. AARON, United States Magistrate Judge:

       The parties shall appear via Telephone for a conference in the above-captioned matter

on Friday, October 23, 2020, at 10:00 a.m. to discuss the resolution of the fee dispute between

Plaintiff’s current and predecessor counsel (ECF No. 74). At the scheduled time, the parties shall

each separately call (888) 278-0296 (or (214) 765-0479) and enter access code 6489745.

SO ORDERED.

DATED:         New York, New York
               October 21, 2020

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                                                STEWART D. AARON
                                                United States Magistrate Judge
